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MINUTE ENTRY
GOODWIN, J.
MAY 21, 2013

                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

In re: C.R. Bard, Inc., Pelvic Repair System                              MDL No. 2187
Products Liability Litigation
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In re: American Medical Systems, Inc., Pelvic Repair System               MDL No. 2325
Products Liability Litigation
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In re: Boston Scientific Corporation Pelvic Repair System                 MDL No. 2326
Products Liability Litigation
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In re: Ethicon Inc., Pelvic Repair System                                 MDL No. 2327
Products Liability Litigation
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In re: Coloplast Corp. Pelvic Support Systems                             MDL No. 2387
Products Liability Litigation
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THIS DOCUMENT RELATES TO ALL CASES

     On April 18, 2013, the court conducted a status conference in the above-referenced
MDLs. The following is a brief summary of the status conference:

1.     General & Specific MDL Issues – Judge Goodwin

       a.     Tolling agreement

              Mr. Garrard reported that the parties were in negotiations on the tolling agreement
              and had made good progress. Judge Goodwin indicated that the tolling agreement
              was very important to him and that he was grateful for any agreement reached by
              the parties.
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    b.    Agenda Issues for MDL 2325 (American Medical Systems, Inc.)

          1.     Status of Plaintiff Profile Forms

          Ms. Binis reported that AMS was attempting to deal with the Plaintiff Profile
          Form (“PPF”) issue in an organized way. She reported 175 missing PPFs. She
          informed the plaintiffs’ steering committee and asked that the PPFs be filed in 30
          days. She reported 667 PPFs with “material deficiencies,” such as missing
          authorization forms. Ms. Binis asked that these deficiencies be cured in 30 days
          as well.

          Judge Goodwin directed liaison counsel to “solve this problem.”

    c.    Agenda Issues for MDL 2327 (Ethicon, Inc.)

          1. Johnson & Johnson/Ethicon Stipulation

          Ms. Jones reported that the parties had agreed on a stipulation, but were tinkering
          with language therein.

          2. Discovery pool status

          Judge Goodwin reiterated his position on the cases to be chosen for bellwether
          trials. Docket control orders for the next round of trials will be submitted within
          30 days.

    d.    Agenda Issues for MDL 2387 (Coloplast)

          1.     Report on case assessment program

          Mr. Clark reported that plaintiffs had been working on the case assessment
          program with Coloplast for about six months and had made good progress.
          Counsel for Coloplast has been to Europe to speak with the principles in
          Coloplast. Plaintiffs are very optimistic and at the next status conference should
          have results to report or be prepared to begin the discussions about another path.

          Mr. Kreps reported on behalf of Coloplast that he hoped by the next status
          conference to have something more concrete to report.

    d.     Endo Entities

          Judge Goodwin noted that the Clerk’s office continued to dismiss the Endo
          entities and that soon, a new short form complaint would be entered omitting
          them. In the meantime, he asked that plaintiffs not name the Endo entities on
          short form complaints.



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2.   General & Specific MDL Issues – Judge Eifert

     a. Cross utilization of documents produced in various MDLs

        Judge Eifert asked that the defendants file a position statement by April 23, 2013.
        Thereafter, plaintiffs could have 5 business days to respond. AMS may respond to
        plaintiffs if they wish, since AMS and plaintiffs had previously filed simultaneous
        briefs on the issue.

     b. Agenda Issues for MDL 2325 (American Medical Systems, Inc.)

        1. Production issue motion

        The parties addressed document production issues. Judge Eifert ordered that the
        parties’ technology personnel meet and confer on these issues with a vendor
        representative present within 14 days. After the meeting, if plaintiffs still believe that
        there was deliberate intent on the part of AMS to delay the production, then Judge
        Eifert will schedule an evidentiary hearing. Judge Eifert will consider an award of
        sanctions, but she will not order that a POP case be tried. Judge Eifert denied the
        motion for production of AMS’s database. Any motion for sanctions is due two to
        three weeks after the meeting.

        Ms. Kwon indicated that a deduplication log would be served this week.

        Ms. Fitzpatrick raised the issue of production of custodial files for former employees.
        Ms. Kwon indicated that AMS continues to look for these files, but they have not
        been located. Judge Eifert directed that AMS must report that either the files exist or
        they do not, as plaintiffs have a right to these files. If they do not exist, AMS must
        produce an Affidavit.

        2. Product exemplars

        Ms. Binis reported the parties had worked out this issue.

        3. Outside U.S. production report

        Ms. Binis reported AMS was on schedule for the remaining outside the U.S.
        production.

     c. Agenda Issues for MDL 2327 (Ethicon, Inc.)

        1. Preservation of documents and tangible matters order

        Mr. Aylstock reported that the parties had reached agreement on a preservation order
        and would submit it to the court.

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       2. Deposition scheduling and coordination with state court proceedings

       Mr. Aylstock explained that because there are 5 different SUI products and 3 POP
       products, the parties were very busy scheduling depositions.

       Ms. Jones noted that plaintiffs had asked for Rule 30(b)(6) depositions involving a
       number of different witnesses together with about 69 fact witnesses. Defendants are
       working with plaintiffs on scheduling and hope to convince plaintiffs that some are
       unnecessary. Ms. Jones stated that while the parties were not currently at impasse on
       this, they may be coming to Judge Eifert in the future on this issue.

    d. Agenda Issues for MDL 2326 (Boston Scientific Corporation)

       1. Report on discovery progress

       Mr. Adams stated that he had no discovery issues to report.

    e. Agenda Issues for MDL 2187 (C. R. Bard, Inc.)

       Judge Goodwin and Judge Eifert met in advance with the parties in Bard.

    f. Next Status Conference – May 23, 2013 at 10:00 a.m.




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